                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 07-CR-1023-LRR
 vs.
                                                               ORDER
 ORLANDO BIRBRAGHER, et al.,
               Defendants.
                                ____________________

                                 I. INTRODUCTION
       The matter before the court is Defendant Orlando Birbragher’s Sealed Motion for
Release for Surgery Pursuant to 18 U.S.C. § 3142(i) (“Sealed Motion”) (docket no. 140).
                       II. RELEVANT PRIOR PROCEEDINGS
       On April 18, 2008, Defendant filed the Sealed Motion. On April 20, 2008, the
government filed a Sealed Resistance (docket no. 145). On April 21, 2008, Defendant
filed a Sealed Reply (docket no. 147).
       On April 21, 2008, the court held a hearing (“Hearing”) on the Sealed Motion.
Attorneys Alfredo Parrish and Andrew Dunn represented Defendant, who was personally
present. Assistant United States Attorneys Stephanie Rose and Matthew Cole represented
the government.
       Without any objection from the parties, the court held the Hearing and received
evidence on the Sealed Motion in open court. Further, Defendant repeatedly waived his
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medical privacy rights at the Hearing. Accordingly, the court shall file the instant Order


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         At the outset of the Hearing, counsel for Defendant made a wholly unsubstantiated
allegation against counsel for the government. Counsel for Defendant insinuated that
counsel for the government had violated Defendant’s medical privacy rights when it
obtained a copy of his medical records without permission. In truth, three days earlier
                                                                            (continued...)


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as a public document and direct the Clerk of Court to unseal the Sealed Motion, Sealed
Resistance and Sealed Reply. Out of an abundance of caution, however, the court shall
direct the Clerk of Court to maintain the attachments to these pleadings under seal, because
they contain personal data identifiers. See LR 10.h.
                               III. FINDINGS OF FACT
       Defendant is presently in the custody of the United States Marshal. The United
States Marshal is holding Defendant in the Linn County Jail pending his trial in September
of 2008. The United States Marshal and the Linn County Jail have a dedicated staff of
medical professionals at their disposal to treat a wide variety of ailments. When necessary,
inmates are sent off-site for medical treatment at local medical facilities.
       Defendant has gall bladder disease. His condition must be monitored closely but
is not life-threatening. With proper medication and dietary restrictions, Defendant can
control the discomfort that his gall bladder disease would otherwise cause him.
       Defendant wants to have elective surgery on his gall bladder. The United States
Marshal and the Linn County Jail are fully capable of handling Defendant’s medical needs,
including scheduling Defendant’s surgery at a local medical facility on an outpatient basis
and providing Defendant with the requisite post-operative care. Defendant is presently
scheduled for surgery in the immediate future. The surgeon is both an M.D. and a
member of the American College of Surgeons.
       Defendant would prefer to have his surgery in Miami, Florida. Defendant would
prefer to have the physician of his own choosing perform the surgery. Defendant would
prefer to recover from his surgery in the comfort of his home and with family nearby.


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        (...continued)
counsel for Defendant had given express permission to Mr. Michael Carr, Linn County
Jail Administrator, to give counsel for the government a copy of Defendant’s medical
records. Gov’t Ex. 10, at 1. The court cautions counsel for Defendant that the
undersigned does not tolerate this sort of behavior.

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                             IV. CONCLUSIONS OF LAW
       Title 18, United States Code, Section 3142(i) provides the governing legal standard
for resolution of the Sealed Motion. In relevant part, § 3142(i) provides:
              The judicial officer may, by subsequent order, permit the
              temporary release of the person, in the custody of a United
              States marshal or another appropriate person, to the extent that
              the judicial officer determines such release to be necessary for
              preparation of the person’s defense or for another compelling
              reason.

18 U.S.C. § 3142(i).
       In resolving the Sealed Motion, court is not required to revisit (or, in the present
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case, re-re-visit ) the issue of whether Defendant remains a flight risk and should be
detained pending his trial. Further, it should also be pointed out that the court has already
determined that Defendant is a candidate for elective surgery and should be temporarily
released from the Linn County Jail, in the custody of the United States Marshal and other
security personnel, for the purposes of obtaining out-patient gall bladder surgery. The
only issue presented in the Sealed Motion is whether the court should instead release
Defendant, let him fly to Florida on previously purchased plane ticket, let him arrange for
a surgery of his choosing at a hospital in Miami and then let him recover in the comfort
of his own home and with his family at his bedside.
       The court holds that Defendant has not provided the court with a “compelling
reason” for the relief sought in the Sealed Motion. Further, to the extent Defendant asks
the court to release him to the custody of his wife (with appropriate monitoring), the court
finds that his wife is not an “appropriate person.” At bottom, Defendant wants to have
surgery in the time, place and manner of his choosing and before a surgeon of his choice.


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         Defendant has filed multiple motions to reconsider the court’s original order of
detention. Defendant has also filed two interlocutory appeals.

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Section 3142(i) does not entitle him to such relief. The United States Marshal, the Linn
County Jail Administrator, their staffs and their hired surgeon are fully capable of
addressing Defendant’s medical needs.
       Defendant cites two cases in support of his Sealed Motion: United States v. Scarpa,
815 F. Supp. 88 (E.D.N.Y. 1993) and United States v. Cordero Caraballo, 185
F. Supp. 2d 143 (D.P.R. 2002). Both cases are clearly distinguishable and wholly
inapposite to the case at bar.
       In Scarpa, the district court found a “compelling reason” for the temporary release
of a defendant to a hospital, pursuant to § 3142(i). The defendant was terminally ill with
AIDS and had sustained a gun shot wound that destroyed most of his face; his family
agreed to reimburse the government for round-the-clock security by the United States
Marshal’s Service; and the staff of the local jail were unable to meet his medical needs.
815 F. Supp. at 90, 92.
       In Cordero Caraballo, the district court found a “compelling reason” for temporary
release of a defendant to his relatives and remain at a medical facility or under 24-hour
house arrest at his grandmother’s apartment, pursuant to § 3142(i). The defendant had
sustained “serious” and “grotesque” gunshot wounds, suffered a heart attack, underwent
an emergency tracheotomy, was partially paralyzed, could not use his hand, and had open
and infected wounds about his body. Id., passim. He was not lucid at times, and some
of his open wounds were the size of a closed fist. Id. at 145 & n.3. The United States
Marshal’s Service refused to take custody of Defendant until his wounds closed. Id. at
145. The United States Probation Office expressly found that the defendant’s relatives
were fit to serve as his custodians, and some of the relatives were nurses. Id. at 146.
       Defendant’s gall bladder disease pales in comparison to the ailments of the
defendants in Scarpa and Cordero Caraballo. Further, in the instant case the United States
Marshal and Linn County Jail Administrator are ready, willing and able to provide


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Defendant with appropriate medical care. As such, Defendant has not presented a
“compelling reason” for temporary release. 18 U.S.C. § 3142(i).
                                  IV. CONCLUSION
      The Sealed Motion (docket no. 140) is DENIED. The Clerk of Court is directed
to file the instant Order as a public document and unseal the Sealed Motion (docket no.
140), Sealed Resistance (docket no. 145) and Sealed Reply (docket no. 147). The Clerk
of Court is directed to maintain the attachments to these pleadings under seal.
      IT IS SO ORDERED.
      DATED this 25th day of April, 2008.




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